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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION

 UNITED STATES OF AMERICA            )
                                     )
 Plaintiff,                          )
                                     )
 vs.                                 )     CAUSE NO. 2:16-CR-174
                                     )
 LLOYD “MONEY” BRUCE,                )
                                     )
 Defendant.                          )

                                    ORDER

       This matter is before the Court on the Amended Findings and

 Recommendation of the Magistrate Judge Upon a Plea of Guilty by

 Defendant Lloyd “Money” Bruce (DE #172) filed on August 22, 2017.

 No objections have been filed to Magistrate Judge Martin’s amended

 findings and recommendations upon a plea of guilty.             Accordingly,

 the Court now ADOPTS those findings and recommendations, ACCEPTS

 the guilty plea of Defendant Lloyd “Money” Bruce, and FINDS the

 Defendant guilty of Counts 8 & 21 of the Second Superseding

 Indictment.1

       This matter shall be set for sentencing via separate order.



 DATED: September 7, 2017                  /s/RUDY LOZANO, Judge
                                           United States District Court




       1
          The original Findings and Recommendation of the Magistrate Judge Upon
 a Plea of Guilty by Defendant Lloyd Bruce (DE #166) is STRICKEN.
